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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


JAMES DIEFFENBAUCH, indivldually & on
behalf of all similarly situated,

                                       Plaintiff(s),                          AFFIDAVIT
                 VS.
                                                                        Case No. 17-cv-01 180
RHINEHART RAILROAD CONSTRUCTION, INC.,

                                       Defendant.




          RICHARD RHINEHART, being duly sworn, deposes and says:

          1.     I am the Vice President of Defendant Rhinehart Railroad Construction, lnc.

("Rhinehart").

          2.     I have held this position since 2000.

          3.     I submit this Affidavit in support of Rhinehart's motion to decertify the
collective action in this matter.

          4.     Rhinehart is incorporated and based in Maryland, and its primary business

is in building railroads and providing related services in a variety of states.

          S.     Rhinehart completes discrete projects for a limited amount of time in various

states.

          6.     Rhinehart completes approximately 90 projects at different job sites with

different customers each Year.

          7.     ln addition to Plaintiff James Dieffenbauch, there are forty-one (41) Opt-ln

Plaintiffs in this matter.



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        8.     The circumstances between these Opt-ln Plaintiffs' work experiences with

Rhinehart vary greatly.

        g.     Rhinehart employs laborers/operators to do much of the dayto-day work

on the railroad tracks.

        10.    Due to the nature of Rhinehart's business, the location of job sites often

changes for employees.

        11.    The staffing needs of any particular project fluctuates, especially as each

project and jobsite is unique.

        12.    Rhinehart staffs these projects with both laborers/operators who have been

employed for a long period of time or for several ditferent Rhinehart projects, as well as

individuals that live locallY.

        13.    For long-term employees, their job locations vary as their roles on        a


particular project change and/or end.

        14.    Rhinehart does not have a "No Pay for Travel" policy in its Employee

Handbook, nor does Rhinehart have an official or unofficial verbal policy dictating that no

travel time will be paid. And sometimes employees are paid more than required for travel

time.

        1S.    As mentioned, each particular project is unique   - the location, the type of
work to be completed, the duration of the project, the individuals staffing the project, the

customer, and the supervision is different from job to job.

        10.    Each project sets its own work schedule as well, and the individual

Supervisor on each project often sets that schedule after consultation and input from the

customer.



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       17.     Examples of schedules that have been used in the past are: a) Monday

through Thursday with ten (10) hour shifts; b) Monday through Friday with eight (8) hour

shifts; and c) Friday through Monday with ten (10) hour shifts.

       18.     The laborers/operators make ditferent choices as far as traveling to and

from work during non-work time and on the weekends'

       19.     Some employees ride as passengers in vehicles driven by co-workers.

       20.     Not all laborersioperators returned to their home community on weekends.

       21.     As mentioned, each job site typically hires some local individuals     as

laborers/operators who may not ever have travel time or travel time away from their home

community due to their proximity to the job site.

       22.     Rhinehart regularly paid travel time to its operators/laborers.

       29.     Attached   as Exhibit A are time records of named plaintiff James
Dieffenbach.

       24.     A representative sample of Opt-ln Plaintitfs were deposed, and each one of

those former employees were paid travel time'

       ZS.     The format in which Rhinehart maintained its time records changed in or

around January 2017 , and therefore the sample records are produced in different formats.

       26.     Attached as Exhibit B are time records of deponent Hugh Cullen.

       27.     Attached as Exhibit C are time records of deponent Kenneth Hites.

       28.     Attached as Exhibit D are time records of deponent Travis Dailey.

       29.     Attached as Exhibit E are time records of Scott Fuller whose sister, Karen

Fuller, was deposed in his Place.

       30.     Exhibits A through E all show examples of paid travel time.



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      31.     Some Opt-ln Plaintiffs rarely traveled away from their home community, if

ever, but their timesheets also show paid travel time.

       92.    For example, Scott Berget and Derek Weiman lived and primarily worked in

Maryland and rarely traveled away from their home communities, if ever. Their time

records, attached hereto as Exhibits F and G, show many instances of paid travel time to

and from job sites.

       33.    There are many ditferent Supervisors at Rhinehart given the number of jobs

Rhinehart completes in a year, and a laborer/operators' Supervisor can change multiple

times over the course of their employment.




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l, Richard Rhinehart, declare under penalty of pe{ury that the foregoing is true and

correct.



Dated           lb         2020


                                                                Rhi




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                      EXHIBIT “A”
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 2/2/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Trackman   2967‐JMD   Dieffenbauch, James   Employee   15   0    0   0 Drive to job 5. Spiked ties 10

 2/3/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0 Ran spikes

 2/4/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

 2/5/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   8    0    0   0

 2/6/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

 2/7/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

 2/8/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

 2/9/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

2/10/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   0    11   0   0
2/11/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   0    10   0   0 Worked on Tripp when we got back to siding
2/12/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   0    8    0   0
2/13/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

2/14/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

2/15/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

2/16/2017 2016‐049‐VA   Buckingham Branch Railroad ‐ 2016               DEFAULT Phase            Trackman   2967‐JMD   Dieffenbauch, James   Employee   6    0    0   0

2/21/2017 PA‐2017‐005   DLRR ‐ Mt. Pocono Derailment 1‐17‐2017          Emergency Repairs        Operator   2967‐JMD   Dieffenbauch, James   Employee   10 6.5    0   0 travel included

2/22/2017 PA‐2017‐005   DLRR ‐ Mt. Pocono Derailment 1‐17‐2017          Emergency Repairs        Operator   2967‐JMD   Dieffenbauch, James   Employee   10 0.5    0   0

2/23/2017 PA‐2017‐005   DLRR ‐ Mt. Pocono Derailment 1‐17‐2017          Emergency Repairs        Operator   2967‐JMD   Dieffenbauch, James   Employee   5    0    0   0

2/23/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee   5 0.5     0   0

2/24/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee   0    10   0   0

 3/2/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee   10 7.5    0   0 travel included

 3/3/2017 2016‐030‐PA   Delaware‐Lackawanna Railroad‐Timber             Base Contract            Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0
                        Replacement 09‐2016
 3/4/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee   10 0.5    0   0

 3/5/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee   0    10   0   0

 3/6/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

 3/7/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee   10   0    0   0

 3/8/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee   2    0    0   0

 3/8/2017 2016‐030‐PA   Delaware‐Lackawanna Railroad‐Timber             Base Contract            Operator   2967‐JMD   Dieffenbauch, James   Employee   6    0    0   0
                        Replacement 09‐2016
3/21/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee   16   0    0   0 Traveled to job. Hours included in time. 6 hours

3/22/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee   10   1    0   0

3/23/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee   10   1    0   0
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3/24/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

3/25/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee     0    11   0   0

3/26/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee     0    12   0   0

3/27/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee    10    1    0   0

3/28/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee     8    0    0   0

3/29/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee    10    1    0   0

3/31/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction   Operator   2967‐JMD   Dieffenbauch, James   Employee     5    0    0   0

3/30/2017 PA‐2017‐017   Ardent Mills Lead from 611 to new Construction DEFAULT Phase             Operator   2967‐JMD   Dieffenbauch, James   Employee   10.5   0    0   0

 4/3/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    6.5   0    0   0 6.5 hours of travel to mount pocono.

 4/4/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10    1    0   0

 4/5/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10    1    0   0

 4/6/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee     5    0    0   0

 4/7/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    7.5   0    0   0

4/10/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

 4/9/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee     6    0    0   0 Travel to job

4/11/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10 0.5     0   0

4/12/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

4/13/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee     6    0    0   0

4/17/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee     9    0    0   0 5 hours travel to Baltimore and 4 hours travel to stroudsburg

4/18/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

4/19/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

4/20/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

4/21/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee     9    0    0   0

4/24/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee    10    2    0   0

4/23/2017 PA‐2017‐012   DLRR ‐ Stroudsburg Derailment 2‐23‐2017         Emergency T&M work       Operator   2967‐JMD   Dieffenbauch, James   Employee     6    0    0   0 Travel to job

4/25/2017 2016‐030‐PA   Delaware‐Lackawanna Railroad‐Timber             Base Contract            Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0
                        Replacement 09‐2016
4/26/2017 2016‐030‐PA   Delaware‐Lackawanna Railroad‐Timber             Base Contract            Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0
                        Replacement 09‐2016
4/28/2017 2016‐030‐PA   Delaware‐Lackawanna Railroad‐Timber             Base Contract            Operator   2967‐JMD   Dieffenbauch, James   Employee     8    0    0   0
                        Replacement 09‐2016
4/27/2017 2016‐030‐PA   Delaware‐Lackawanna Railroad‐Timber             Base Contract            Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0
                        Replacement 09‐2016
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 5/2/2017 2016‐030‐PA   Delaware‐Lackawanna Railroad‐Timber             Base Contract                    Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0 includes travel
                        Replacement 09‐2016
 5/3/2017 2016‐030‐PA   Delaware‐Lackawanna Railroad‐Timber             Base Contract                    Operator   2967‐JMD   Dieffenbauch, James   Employee    10 1.5     0   0
                        Replacement 09‐2016
 5/4/2017 PA‐2017‐008   Ardent Mills 50 ties and Surface                DEFAULT Phase                    Operator   2967‐JMD   Dieffenbauch, James   Employee    10    2    0   0
 5/5/2017 PA‐2017‐008   Ardent Mills 50 ties and Surface                DEFAULT Phase                    Operator   2967‐JMD   Dieffenbauch, James   Employee     5    0    0   0

5/10/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee    11    0    0   0 Drive to middle river to get tools then to Easton

5/11/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

5/12/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee    10    1    0   0

5/13/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee     2    0    0   0

5/14/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee    10    1    0   0

5/15/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee    10    1    0   0

5/16/2017 PA‐2017‐020   General Dynamics ‐ Broken Rail Repair           DEFAULT Phase                    Operator   2967‐JMD   Dieffenbauch, James   Employee     3    0    0   0

5/16/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee     8    0    0   0

5/17/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee    10    1    0   0

5/18/2017 2016‐010‐PA   Lehigh Valley Site Contractors ‐ Ardent Mills   New Track Construction           Operator   2967‐JMD   Dieffenbauch, James   Employee     8    0    0   0

5/24/2017 VA‐2017‐002   Miller Milling ‐ Inspections and Blanket 2017   Inspection Services ‐ May 2017   Operator   2967‐JMD   Dieffenbauch, James   Employee     6    0    0   0 travel split

5/24/2017 VA‐2017‐004   Carmeuse Lime and Stone ‐ Inspections and       Inspection Services ‐ May 2017   Operator   2967‐JMD   Dieffenbauch, James   Employee     5    0    0   0 travel split
                        Maintenance 2017
5/25/2017 PA‐2017‐018   NRG Keystone Blanket                            DEFAULT Phase                    Operator   2967‐JMD   Dieffenbauch, James   Employee     8    3    0   0
5/26/2017 PA‐2017‐018   NRG Keystone Blanket                            DEFAULT Phase                    Operator   2967‐JMD   Dieffenbauch, James   Employee     7    0    0   0 2.5 travel 4.5 on site
5/30/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction               Trackman   2967‐JMD   Dieffenbauch, James   Employee     6    0    0   0 Travel time

5/31/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction               Trackman   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

 6/1/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction               Trackman   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

 6/2/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction               Trackman   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

 6/5/2017 MD‐2017‐060   MTA‐Metro Coverboard Replacement                Base Contract                    Trackman   2967‐JMD   Dieffenbauch, James   Employee   13.5   0    0   0

 6/6/2017 MD‐2017‐060   MTA‐Metro Coverboard Replacement                Base Contract                    Trackman   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

 6/7/2017 MD‐2017‐060   MTA‐Metro Coverboard Replacement                Base Contract                    Trackman   2967‐JMD   Dieffenbauch, James   Employee    10    0    0   0

 6/8/2017 MD‐2017‐060   MTA‐Metro Coverboard Replacement                Base Contract                    Trackman   2967‐JMD   Dieffenbauch, James   Employee     6    2    0   0

 6/9/2017 MD‐2017‐061   MTA‐Metro Rail Replacement                      DEFAULT Phase                    Trackman   2967‐JMD   Dieffenbauch, James   Employee     0    12   0   0

6/10/2017 MD‐2017‐061   MTA‐Metro Rail Replacement                      DEFAULT Phase                    Trackman   2967‐JMD   Dieffenbauch, James   Employee     0    12   0   0

6/11/2017 MD‐2017‐061   MTA‐Metro Rail Replacement                      DEFAULT Phase                    Trackman   2967‐JMD   Dieffenbauch, James   Employee     0    12   0   0

6/12/2017 MD‐2017‐060   MTA‐Metro Coverboard Replacement                Base Contract                    Trackman   2967‐JMD   Dieffenbauch, James   Employee     2    0    0   0
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6/13/2017 MD‐2017‐061   MTA‐Metro Rail Replacement                      DEFAULT Phase                     Trackman          2967‐JMD   Dieffenbauch, James   Employee    2    0   0   0

6/13/2017 MD‐2017‐064   Appalachian Tank Car 5‐17‐2017                  DEFAULT Phase                     Trackman          2967‐JMD   Dieffenbauch, James   Employee    8    0   0   0

6/14/2017 VA‐2017‐035   Waste Manag ‐ King George 6‐9‐2017              DEFAULT Phase                     Trackman          2967‐JMD   Dieffenbauch, James   Employee    8    0   0   0

6/15/2017 VA‐2017‐002   Miller Milling ‐ Inspections and Blanket 2017   Inspection Services ‐ June 2017   Trackman          2967‐JMD   Dieffenbauch, James   Employee    8    0   0   0 2 hours travel and 6 hours on site

6/21/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   6.5   0   0   0 Travel time

6/22/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

6/23/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

6/24/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

6/25/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

6/26/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

6/27/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

6/28/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

6/29/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

 7/5/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10    1   0   0 2 hours travel and 9 hours on site

 7/6/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10    2   0   0 2 hours travel

 7/7/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

7/10/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10 2.5    0   0 2 hours travel, 10.5 hours on site

7/11/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10 0.5    0   0

7/12/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10 0.5    0   0

7/13/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10 0.5    0   0

7/14/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee    4    0   0   0

7/18/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10 0.5    0   0

7/17/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0 2 hours travel and 8 hours on site

7/19/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10 0.5    0   0

7/20/2017 PA‐2017‐022   NRG Keystone July Maintenance 2017              Rehab ties and turnouts           Operator          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0

7/27/2017 MD‐2017‐074   CNX Marine ‐ Tie Replacement                    Base Contract                     Trackman          2967‐JMD   Dieffenbauch, James   Employee   13    0   0   0 4 hrs drive time

7/28/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0 4.5 hours travel and 5.5 hours on site

7/29/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee    7    0   0   0

7/30/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding             Track Construction                Trackman          2967‐JMD   Dieffenbauch, James   Employee    5    0   0   0

7/31/2017 MD‐2017‐020   Brawner Builders ‐ MTA Timber Project           DEFAULT Phase                     Operator ‐        2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0
                                                                                                          Prentice Loader
7/29/2017 PA‐000        Fredonia Yard                                   DEFAULT Phase                     Trackman          2967‐JMD   Dieffenbauch, James   Employee    7    0   0   0 Had to replace alternator on tc5
 8/1/2017 MD‐2017‐020   Brawner Builders ‐ MTA Timber Project           DEFAULT Phase                     Operator ‐        2967‐JMD   Dieffenbauch, James   Employee   10    0   0   0
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 8/2/2017 MD‐2017‐020   Brawner Builders ‐ MTA Timber Project       DEFAULT Phase        Operator ‐        2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0
 8/3/2017 MD‐2017‐020   Brawner Builders ‐ MTA Timber Project       DEFAULT Phase        Operator ‐        2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0
 8/8/2017 MD‐2017‐020   Brawner Builders ‐ MTA Timber Project       DEFAULT Phase        Operator ‐        2967‐JMD   Dieffenbauch, James   Employee   16    0    0   0
 8/9/2017 MD‐2017‐020   Brawner Builders ‐ MTA Timber Project       DEFAULT Phase        Operator ‐        2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0
                                                                                         Prentice Loader
 8/7/2017 MD‐2017‐020   Brawner Builders ‐ MTA Timber Project       DEFAULT Phase        Operator ‐        2967‐JMD   Dieffenbauch, James   Employee    8    0    0   0
8/17/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   P    i L d
                                                                                         Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    3    0   0 4 hours travel 9 hours on site
8/17/2017 PA‐000        Fredonia Yard                               DEFAULT Phase        Trackman          2967‐JMD   Dieffenbauch, James   Employee   3.5   0    0   0 Travel to Baltimore
8/18/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee    8    0    0   0

8/19/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

8/20/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

8/16/2017 VA‐2017‐039   Carmeuse Lime & Stone 8‐15‐2017 Emergency   Base Contract        Trackman          2967‐JMD   Dieffenbauch, James   Employee    4    0    0   0 3 hrs travel 1 hr on site
8/21/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

8/22/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

8/23/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

8/24/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee    6    0    0   0

8/30/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    7    0   0 7 hours travel and 10 hours on site

8/31/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

 9/1/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

 9/2/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

 9/3/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

 9/4/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    2    0   0

 9/5/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

 9/6/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

 9/7/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee    5    0    0   0

9/14/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    7    0   0 7 hours travel and 10 hours on site

9/15/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

9/16/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

9/17/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

9/18/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

9/19/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0

9/20/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee   10    0    0   0
9/21/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding         Track Construction   Trackman          2967‐JMD   Dieffenbauch, James   Employee    6    0    0   0

9/23/2017 VA‐2017‐044   Carmeuse Middletown Broken Rail 9‐22‐17     DEFAULT Phase        Trackman          2967‐JMD   Dieffenbauch, James   Employee    0    12   0   0
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9/28/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding   Track Construction   Trackman   2967‐JMD   Dieffenbauch, James   Employee   8    0   0   0 4.5 hours travel to Manchester to pick up truck, 2 hours at
                                                                                                                                                         Manchester 1 5 hours travel to the spot they broke down
9/29/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding   Track Construction   Trackman   2967‐JMD   Dieffenbauch, James   Employee   5    0   0   0 3.5 hours travel and 1.5 hours work on rs6

9/30/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding   Track Construction   Trackman   2967‐JMD   Dieffenbauch, James   Employee   10   0   0   0

10/1/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding   Track Construction   Trackman   2967‐JMD   Dieffenbauch, James   Employee   10   0   0   0

10/2/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding   Track Construction   Trackman   2967‐JMD   Dieffenbauch, James   Employee   10   0   0   0

10/3/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding   Track Construction   Trackman   2967‐JMD   Dieffenbauch, James   Employee   10   2   0   0

10/4/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding   Track Construction   Trackman   2967‐JMD   Dieffenbauch, James   Employee   10   3   0   0

10/5/2017 VA‐2017‐008   Luck Stone Corp ‐ Portsmouth Siding   Track Construction   Trackman   2967‐JMD   Dieffenbauch, James   Employee   8    0   0   0
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